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                        Exhibit B
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                       Large Loads – Impact on Grid Reliability
                       and Overview of Revision Request Package




                       NPRR1191 and Related Revision Requests Workshop

                       August 16, 2023
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     Workshop Agenda

         1.   Welcome and Antitrust Admonition
         2.   Large Loads – Impact on Reliability
         3.   Overview of the Large Load Revision Request Package
         4.   Next Steps




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                                       Antitrust Admonition
         To avoid raising concerns about antitrust liability, participants in ERCOT
         activities should refrain from proposing any action or measure that would
         exceed ERCOT’s authority under federal or state law. For additional information,
         stakeholders should consult the Statement of Position on Antitrust Issues for
         Members of ERCOT Committees, Subcommittees, and Working Groups, which
         is posted on the ERCOT website.1



                                                  Disclaimer
         All presentations and materials submitted by Market Participants or any other
         Entity to ERCOT staff for this meeting are received and posted with the
         acknowledgement that the information will be considered public in accordance
         with the ERCOT Websites Content Management Operating Procedure.

                                                                      1The document is available at http://www.ercot.com/about/governance/index.html.



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                       Large Loads – Impact on Grid Reliability
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     Improvements for the Reliable Integration of Large Loads
         ERCOT, like many grids around the world, is seeing an unprecedented amount
         of larger Loads interconnecting. To serve these Loads reliably requires changes
         to traditional processes. ERCOT has proposed a set of changes to integrate
         these new Loads and enhance the overall reliability of the grid.

         These changes include:
         • A faster, more efficient interconnection process to meet the needs of these
           new Loads.
         • Load forecasting improvements to capture the unique demand characteristics
           of larger Loads.
         • Voltage ride-through standards to maintain grid resiliency during events.
         • Ramp rate limits to mitigate negative impacts on Ancillary Service availability.
         • A new Load category to reduce the need for Emergency Operations.


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     Faster Load Interconnection Process

   Reliability                New types of Large Loads want to interconnect in less than 2
     Risk                     years.


                              Traditional planning processes do not review this timeframe and
         Impact               cannot prepare the grid to serve this new Load reliably.


    Proposed                  Implement a Large Load Interconnection study process to make
    Solution                  it possible to interconnect new load reliably in less than 2 years.

 Since January 2022, more than 2,700 MW (~5x city of Lubbock) of Load approved in the interim process representing 22 projects have
 been approved to energize in 2 years or less bypassing the established reliability process. Another 16,199 MW of proposed Load (55
 projects) have requested energization dates on or before Dec 31, 2024.


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     Load Forecasting Enhancement

   Reliability                 ERCOT cannot readily identify larger load facilities and has
     Risk                      limited visibility into their sensitivity to price and other factors.


                               ERCOT is seeing greater load forecast error on extreme or
         Impact                unusual operating days when an accurate forecast is most
                               critical.

                               Implement 4CP and price responsive demand forecasts and
    Proposed
                               require Loads 25 MW or greater to provide additional information
    Solution                   to ERCOT.
 ERCOT has limited visibility into the location and consumption of all larger Loads. This has been evident during summer operations when
 high prices and 4CP response make industrial load usage difficult to forecast for upcoming days. Increased visibility into industrial load
 consumption would have also been useful during both Winter Storm Uri and Elliot, when larger Load usage was a critical forecasting input.


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     Voltage Ride-Through Standards
                               ERCOT has experienced multiple events in the last year where a
   Reliability
                               significant amount of Large Load unexpectedly disconnected
     Risk                      from the grid.


                               Large Load behavior can magnify the severity of grid events,
         Impact                increasing the negative impact to reliability.


    Proposed                   Establish a voltage ride-through standard that applies to all
    Solution                   Loads 75 MW or greater.

 Multiple events have demonstrated new Large Loads are not always capable of remaining stable during voltage fluctuations. The most
 severe event occurred near Odessa at 3:50 AM on 12/7/22 when more than 1,600 MW of Load (including data centers, oil/gas load, and
 other industrial loads) unexpectedly disconnected from the grid due to a low-voltage fluctuation. System frequency increased to 60.235 Hz
 and did not return to normal for over 10 minutes. Large Loads can make a low-voltage event become a frequency control event.

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     Frequency Control Improvements

   Reliability                 Large Loads can change their MW consumption rapidly enough
     Risk                      to exhaust available Regulation service.


                               ERCOT eventually will need to buy what may become an
         Impact                infeasible quantity of Regulation service to maintain frequency
                               stability. This could add significant costs to ratepayers.

                               Create a path so as many Large Loads as possible can
    Proposed
                               participate as Controllable Load Resources (CLRs). Establish
    Solution                   ramp-rate standards for Large Loads that are not CLRs.
 Since January 2023, 49 SCED intervals have exceeded available Regulation due to rapid changes in Large Load consumption. The loss
 of available Regulation temporarily limits ERCOT’s ability to control frequency. This was not an issue prior to the connection of the 2700
 MW of Large Loads. Ramp rate limits on Large Loads not controlled by SCED will help mitigate depletion of Regulation by Large Loads.


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     Reducing Emergency Operations

   Reliability                 Large Loads have exhibited inconsistent behavior during Resource scarcity
     Risk                      events.


                               If ERCOT plans for expected Large Load response and the Load does not
                               respond, it could drive the system into emergency conditions. If ERCOT plans
         Impact                for no response, it will increase consumer costs unnecessarily when the Load
                               does respond.


    Proposed                   Create a new Registered Curtailable Load category that ERCOT may curtail
    Solution                   before shedding firm load.

 In the last two years, ERCOT has acquired some information regarding Large Load behavior during periods of Resource scarcity.
 Experience shows inconsistent response from Large Load sites that should be expected to reduce consumption. ERCOT needs the
 capability to coordinate Large Load response before curtailment of firm Load is required. For example, if Large Loads had not voluntarily
 curtailed on June 20, 2023 ERCOT would have been forced into Emergency Operations.


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     Path Forward
         • Large Loads with demand flexibility have the potential to be an important tool
           for maintaining grid reliability.

         • For this flexibility to enhance rather than detract from grid reliability, it must be
           coordinated with generator dispatch. Participation of Large Load as CLRs,
           where applicable, is a necessary step in meeting this need.

         • Additional information collected from all larger Loads will enable ERCOT to
           improve its load forecasts and operational processes.

         • ERCOT is committed to working with all stakeholders in a transparent manner
           to utilize the flexibility offered by some Large Loads to ensure the reliability of
           the grid for all customers.


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     List of recent Voltage Ride-Through events




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